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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

WSOU INVESTMENTS, LLC d/b/a                  §
BRAZOS LICENSING AND                         §
DEVELOPMENT,                                 §      CIVIL ACTION 6:20-cv-454-ADA
                                             §
       Plaintiff,                            §         JURY TRIAL DEMANDED
                                             §
v.                                           §
                                             §
MICROSOFT CORPORATION,                       §
                                             §
       Defendant.                            §


                          NOTICE OF APPEARANCE OF COUNSEL

       Please take notice that attorney Brian M. Koide of the law firm ETHERIDGE LAW GROUP,

PLLC appears as counsel of record for Plaintiff WSOU INVESTMENTS, LLC d/b/a BRAZOS

LICENSING AND DEVELOPMENT. Mr. Koide hereby requests that all notices required to be

given, and all papers required to be served in the above-entitled and numbered cause, be copied

to and served upon him.


Dated: November 3, 2020                    Respectfully submitted,

                                           /s/ Brian M. Koide
                                           Brian M. Koide
                                           Virginia Bar No. 46,329
                                           ETHERIDGE LAW GROUP, PLLC
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                                           Southlake, Texas 76092
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                             CERTIFICATE OF SERVICE



      I certify that the foregoing document was served upon all counsel of record via the

Court's CM/ECF electronic filing system in accordance with the Federal Rules of Civil

Procedure on November 3, 2020.




                                               /s/ Brian M. Koide
                                               Brian M. Koide
